      Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 1 of 10




 1 MICHAEL W. BIEN – 096891                      OREN NIMNI*
   ERNEST GALVAN – 196065                         Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                      AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                 Md. Bar No. 2112150205
 3 ROSEN BIEN                                    D DANGARAN*
   GALVAN & GRUNFELD LLP                          Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor               RIGHTS BEHIND BARS
   San Francisco, California 94105-1738          416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                     Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                   Telephone: (202) 455-4399
 6              egalvan@rbgg.com                 Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                             amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                      d@rightsbehindbars.org
                                                 *
 8 SUSAN M. BEATY – 324048                           Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF M
   themselves and all others similarly situated,           D     IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4333969.1]
          DECLARATION OF M       D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 2 of 10




 1                 I, M       D     , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am a transgender man and I use the name D        .
 6                 3.     I am incarcerated in federal prison and was incarcerated at FCI Dublin from
 7 August 15, 2017, to July 20, 2022. I was transferred to Federal Correctional Institute
 8 Hazelton (Hazelton) on July 20, 2022, but at any point I could be transferred back to FCI
 9 Dublin.
10                 4.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
11 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
12 and put myself and other incarcerated persons at substantial risk of serious harm from
13 sexual assault, harassment, and retaliation from staff.
14                 5.     While at FCI Dublin, I experienced abuse and harassment from Officer
15 Oliveros, Officer Dines, Officer Vargas, Nurse Cohen, and others.
16                 6.     I also witnessed multiple officers abusing and harassing incarcerated women.
17                 7.     I started dating a woman incarcerated at Dublin in the fall of 2017. Officer
18 Oliveros was purportedly “dating” one of the women incarcerated in Dublin who was
19 housed in the cell next to my girlfriend.
20                 8.     Officer Oliveros would visit this woman in her cell while I was next door in
21 my girlfriend’s cell. I could hear them having sex.
22                 9.     Officer Oliveros also often allowed people in the units have sex with each
23 other as long as he could watch.
24                 10.    Around December 2017, Officer Oliveros forced me and my girlfriend to
25 have sex while he watched.
26                 11.    Officer Oliveros was put on administrative leave in late 2018 or early 2019.
27                 12.    I also observed sexual relationships between guards and incarcerated women.
28                 13.    From April 2018 to December 2018, I was in a relationship with another
     [4333969.1]                                          1
          DECLARATION OF M       D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 3 of 10




 1 woman in Dublin. This woman had sex with Mr. Miller, the coordinator of the Residential
 2 Drug Abuse Program (RDAP) program at Dublin, from around May 2018 through
 3 March 2019.
 4                 14.   After this woman left Dublin in 2020, I reported the sex between her and
 5 Mr. Miller to Dr. Portillo, a therapist.
 6                 15.   Dr. Portillo tried to help and reported the incident to higher ups, but she was
 7 silenced—she was transferred to another BOP facility in 2022.
 8                 16.   I believe Dublin transferred multiple staff members who were trying to help
 9 people to other facilities. Dr. Portillo was told to “take this transfer or lose your job.”
10                 17.   Between 2018 and 2019, my bunk mate was having sex with Officer Ramos
11 for several months. Ramos brought her presents (perfume, cigarettes, etc.), and came into
12 our dorm constantly.
13                 18.   Ramos would also open the windows without warning while we were
14 changing.
15                 19.   My bunk mate was released from Dublin in 2020.
16                 20.   Around December 2020, a woman that I was dating as having sex with
17 Officer Bellhouse. She worked in the safety department, where Officer Bellhouse, Officer
18 Klinger, and others worked. The Officers were selective about which women worked in
19 that office, picking women who they were attracted to, and engaged with many of them
20 sexually.
21                 21.   Officer Bellhouse would work extra shifts in order to come to her cell at
22 night. Officer Bellhouse would arrive, I would leave, and Officer Bellhouse would give
23 the woman extra hand sanitizer in exchange for sexual favors.
24                 22.   Officer Bellhouse had sexual relations with multiple women; this was
25 common knowledge and no intervention occurred.
26                 23.   I worked in the kitchen for one week in January 2022 and witnessed multiple
27 officers abuse other incarcerated people.
28                 24.   For example, Officer O’Connor, the kitchen supervisor, was having sex with
     [4333969.1]                                         2
          DECLARATION OF M       D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 4 of 10




 1 multiple women who worked in the kitchen with him. Officer O’Connor talked to me
 2 about O’Connor’s sexual relations because he saw me as one of the guys.
 3                 25.   Officer Jones, another kitchen supervisor, was also having sexual relations
 4 with women who worked in the kitchen. It was widely known that he had multiple women
 5 physically assaulted as retaliation for reporting him.
 6                 26.   One day, I was in the kitchen laughing with my girlfriend. Officer Ramos
 7 was staring at us and gave me dirty looks.
 8                 27.   Later that night, Officer Ramos came to my cell and banged on the door to
 9 wake me up. He said, “If I find any contraband in the kitchen, I’m going to put it all on
10 you. You’re going to the hole. I already talked to Putnam, you know I can get it done.” I
11 understood that as a threat: Officer Ramos was going to pin something I didn’t do on me
12 and put me in the Special Housing Unit (SHU).
13                 28.   I told my counselor, Ms. Minor, about Ramos’s sexual activity and threat,
14 and she transferred me out of the kitchen as soon as possible.
15                 29.   Around February or March 2022, I tried to report Officers Jones and Ramos
16 to Special Investigative Specialist Lieutenant Putnam, but Putnam didn’t do anything
17 because he and Ramos were best friends.
18                 30.   I was in the SHU repeatedly in 2021, including from March 2, 2021, to
19 July 1, 2021, July 29, 2021 to August 10, 2021, and November 4, 2021 to December 22,
20 2021.
21                 31.   Besides the incident described below, I was not told why I was sent to the
22 SHU; Putnam just told me it was for “an investigation.”
23                 32.   While in the SHU, I was constantly sexually harassed by Officer Dines. He
24 called me a “cunt sucker”, “cum drinker,” “bitch,” “dyke” and other slurs every day.
25                 33.   Officer Dines would force women in the SHU to expose themselves and
26 shake their breasts in order to get an extra tray of food, or a pen. I and others saw this
27 happen many times.
28                 34.   I was physically assaulted by Officer Vegas.
     [4333969.1]                                        3
          DECLARATION OF M       D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 5 of 10




 1                 35.   On July 29, Officer Vargas, identified the cigarettes as contraband in my
 2 toilet and radioed me into Putnam’s office. As soon as Putnam heard the name “D                     ,”
 3 he told Officer Vargas to take me out of my cell. I believe Putnam made this unwarranted
 4 escalation because he harassed Black inmates the most.
 5                 36.   As Vargas asked me to step out of my cell, I dropped the medication I was
 6 holding in my hands.
 7                 37.   Officer Vargas said to hand it over to him, then before I could pick it up,
 8 Vargas put both of his hands on me and grabbed me out of the cell.
 9                 38.   I had previously been physically assaulted by an officer in Carswell, Texas,
10 so I was triggered by the grab and tousled back.
11                 39.   Officer Vargas and I wrestled for the length of six or seven cell doors.
12 Officer Vargas was holding on to me, while I was dragging him along as I was trying to
13 get away from him in the hallway.
14                 40.   I was pulled to the ground, hurting my back. I had to lay on my back for
15 almost a week to recover.
16                 41.   I was put in the SHU for a week and a half.
17                 42.   Putnam took all of my personal pictures, including my mother’s obituary.
18                 43.   Vargas was walked off after the incident because no guard is supposed to
19 touch anyone without another guard there.
20                 44.   I believe that Putnam escalated the situation via radio and told Vargas to take
21 me out of the cell because of my race, gender identity, and history of reporting.
22                 45.   After I was released from SHU on August 10, 2021, Lt. Putnam came to my
23 unit and said he “couldn’t wait to have the opportunity to show him what a real man was.”
24 Lt. Putnam also told me, “When I put my hands on you, you’ll know that a real man has
25 touched you.”
26                 46.   I was also sexually abused and harassed by Nurse Cohen when he
27 administered my testosterone shot.
28                 47.   As a transgender man, I received Hormone Replacement Therapy (HRT) in
     [4333969.1]                                         4
          DECLARATION OF M       D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 6 of 10




 1 the form of testosterone shots (“T”). I started T in 2020 while at Dublin.
 2                 48.   Nurse Cohen was responsible for administering the shot. Cohen harassed
 3 and embarrassed me when giving me the shot. I would walk into medical, in front of 40-
 4 50 women and Cohen had me pull down my pants in the front of the room, announcing
 5 that it was “time to get your man shot.” I complained about the taunting and decided to
 6 refuse the shot to spare myself the transphobic harassment.
 7                 49.   Sometime between November 2020 and February 2021, I got back on T.
 8                 50.   Cohen was now administering the shots in the laundry room when he did not
 9 do it in public in front of others. This was an improvement, for the most part, except for
10 the fact that no one else could observe Cohen’s actions in the private laundry room.
11                 51.   In late 2021 or early 2022, I experienced an extremely uncomfortable
12 incident of harassment with Cohen that led me to go off T again. Cohen wore scrubs that
13 were so tight that his male parts were visible through them, and you could tell when he was
14 aroused.
15                 52.   When Cohen was supposed to simply insert the T shot into my hip, one
16 day—the last time I allowed him to administer the shot—Cohen grabbed my butt, instead,
17 and stuck the shot in his butt cheek instead of his hip. I knew this was inappropriate
18 touching. I saw that Cohen became visibly aroused while administering the shot this time.
19 I felt uncomfortable with telling a nurse or a guard and didn’t know what to do.
20                 53.   I stopped getting T because no one else could administer it. Dublin was
21 short staffed. Many people were uncomfortable with Cohen, but it was pointless to report
22 what happened. After the touching incident, I was not on T for the rest of my time at
23 Dublin.
24                 54.   I found that the Dublin officers discriminated against Black incarcerated
25 people. For example, Officer Ramos stayed out of my way as long as I only dated Black
26 individuals. If he was talking with Latina women, Officer Ramos would get angry at me.
27 He would ransack my cell, scream at me, and threaten to send me to the SHU.
28                 55.   I found that SIS Lt. Putnam also did similar discriminatory actions.
     [4333969.1]                                        5
          DECLARATION OF M       D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 7 of 10




 1                 56.   There was a drug issue at FCI Dublin, so the Warden and the Captain told
 2 Lt. Putnam to do whatever he wanted to “investigate.” Putnam intentionally targeted
 3 Black individuals; there were probably only about 40 Black people at a prison of 700. Ten
 4 of them were in SHU for most of a year from March 2 to July 1, 2021.
 5                 57.   Lt. Putnam was “the head of the racism.” I wouldn’t eat if Lt. Putnam was in
 6 the compound. Lt. Putnam and other officers tore up my room, broke up my things, and
 7 threw away my property.
 8                 58.   While in the SHU, Lt. Putnam and other officers would ignore the Black
 9 individuals for weeks at a time, or they would come and turn on the A/C even when people
10 didn’t have many blankets or would leave the bright lights on for days at a time.
11                 59.   Lt. Putnam threatened that I would get stripped down and harassed if I dated
12 out of my race.
13                 60.   I reported the racism to his psychologist, Dr. Portillo. I felt that she spoke up
14 for me. I think she reported the racism to her higher-ups, but her report was ignored—
15 brushed under the rug.
16                 61.   Lt. Putnam was one of a number of people who were also transphobic to me.
17 Lt. Putnam and Officer Vargas called me “ma’am” though they knew I identified as a man.
18                 62.   Many officers, including Ramos, Saucedo, and Putnam, made transphobic
19 comments to me constantly, such as, “Why would women sleep with you, you’re not a real
20 man.”
21                 63.   Besides this constant harassment, I was not afforded medically necessary
22 treatment and items when I first arrived at Dublin.
23                 64.   When I first arrived, Ms. Wade in Receiving and Discharge (R&D) told me
24 that I couldn’t get men’s underwear (boxers) because “there are no men in this facility.”
25                 65.   I eventually gained access to boxers, but guards threw them away, and I had
26 to buy more.
27                 66.   As explained above, my HRT was interrupted because Nurse Cohen first
28 made me take my shots in public, in front of women, and then sexually assaulted me while
     [4333969.1]                                         6
          DECLARATION OF M       D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 8 of 10




 1 administering my T shot.
 2                 67.   I was not the only trans person abused at Dublin. In summer 2018, I saw
 3 Officer Kenlaw, a kitchen worker, assault a trans woman on the recreation yard. He
 4 started screaming transphobic remarks at her, and threw her to the ground, and dug his
 5 knee into her neck.
 6                 68.   When I arrived at FCI Dublin in August 2017, I was not provided adequate
 7 training and information about how to respond to sexual abuse.
 8                 69.   There is no effective way to confidentially report sexual assault and abuse by
 9 staff at FCI Dublin. When incarcerated persons report sexual abuse by staff, FCI Dublin
10 and BOP do not seriously investigate the reports. Investigations are frequently delayed
11 and overseen by staff who know and work with the offending staff member. Generally
12 nothing happens as a result.
13                 70.   When a BOP delegation came to Dublin, I tried to report Lt. Putnam.
14                 71.   I spoke to a woman in Internal Affairs, who told me, “We will deal with
15 him,” but I don’t think anything actually happened. The day after I met with Internal
16 Affairs, Lt. Putnam found me and told me: “I can’t believe you would report me.”
17                 72.   I believe Putnam is the reason I was transferred to Hazelton in July 2022.
18                 73.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
19 by staff and retaliate against people who do report, such as by transferring those who
20 report to other facilities.
21                 74.   I continued to experience harassment at Hazelton.
22                 75.   For example, I was denied underwear and tissues, and taunted by guards who
23 said I was not transgender, goading, “Why are you bleeding if you don’t receive the
24 testosterone shots?”
25                 76.   While I was on my cycle, I was denied underwear for almost a whole day by
26 Officer Hall. I am supposed to receive both boxers and underwear.
27                 77.   Officer Hall ignored my request, saying “you need boxers and underwear?
28 Are you a man or a woman?”
     [4333969.1]                                        7
          DECLARATION OF M       D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 9 of 10




 1                 78.   I pressed the emergency button when bleeding heavily. Ms. Gillispie came
 2 to my cell and repeated the note out loud in the hallway such that everyone could hear it, in
 3 a very degrading manner.
 4                 79.   I did not receive my HRT medication while at Hazelton, nor I he receive my
 5 psychiatric medication.
 6                 80.   I spoke with my psychologist, Dr. Seymour, about the torture I experienced
 7 in Dublin. Dr. Seymour said, “Maybe you should talk to your lawyer about it because I
 8 can’t offer you any help.” I feel strongly that Dr. Seymour is not a supportive mental
 9 health provider.
10                 81.   There is little to no confidential mental health care available to survivors of
11 sexual abuse and assault at FCI Dublin or Hazelton. There is little to no medical care
12 available to survivors of sexual abuse and assault at FCI Dublin or Hazelton.
13                 82.   The camera system at FCI Dublin is inadequate. There are some cameras
14 installed in fixed locations in the facility, but it is well known that there are no cameras in
15 certain areas. Staff at FCI Dublin have never worn body-worn cameras in the facility.
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     [4333969.1]                                         8
          DECLARATION OF M       D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
Case 3:23-cv-04155-YGR Document 10-33 Filed 08/17/23 Page 10 of 10
